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Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA )

) 22-CR-329 (TJK)
vs. ) Criminal Case No.:

)

JEREMY BERTINO
)

WAIVER OF INDICTMENT
I, JEREMY BERTINO , the above-named defendant, who is accused of

 

18 U.S.C. § 2384: Seditious Conspiracy; 18 U.S.C. § 922(g)(1): Unlawful
Possession of Firearm

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby

waive in open court on October 6, 2022 prosecution by indictment and consent that

the proceeding may be by information rather than by indictmenj. DZ LG_

Defendant

(A (A. ~2Q-

Counsel for Defendant

 

 

BE(ore: | MAA Date: 1of 6/22

Timothy J. Kelly

United States District Judge

 

 
